        Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 1 of 9




                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


 KIMBERLY R. ROBINSON,
                                                      CIVIL COMPLAINT
              Plaintiff,

 v.                                                   CASE NO. 4:18-cv-00623

 ACCELERATED FINANCIAL
 SOLUTIONS L.L.C.,                                    DEMAND FOR JURY TRIAL

              Defendant.


                                           COMPLAINT

         NOW comes KIMBERLY R. ROBINSON (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of ACCELERATED

FINANCIAL SOLUTIONS L.L.C. (“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq., and the Texas Debt Collection Act (“TDCA”) under Tex. Fin. Code

Ann. § 392 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists

for the state law claim pursuant to 28 U.S.C. §1367.




                                                  1
           Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 2 of 9




      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Southern District of Texas and a substantial portion the events or omissions giving rise to

the claims occurred within the Southern District of Texas.

                                               PARTIES

      4. Plaintiff is a 41 year-old natural person residing at 700 Dunson Glenn Drive, Apartment

210, Houston, Texas, which is located within the Southern District of Texas.

      5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

      6. Defendant is a “modern debt collection & legal recovery solutions”1 company that collects

consumer debts for others, including debt allegedly owed by Plaintiff.          While Defendant’s

registered office is located at 39 Monette Parkway, Smithfield, Virginia, Defendant regularly

collects upon Texas consumers.

      7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

      8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                               FACTS SUPPORTING CAUSES OF ACTION

      9.    In approximately September 2017, Plaintiff began receiving calls to her cellular phone,

(281) XXX-6782, from Defendant.

      10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -6782. Plaintiff is and always has been financially

responsible for the cellular phone and its services.




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    https://www.gotoafs.com/

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       Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 3 of 9




    11. Upon answering calls from Defendant, Plaintiff is subjected to a recorded message before

she is connected with a live representative.

    12. Upon speaking with Defendant, Plaintiff is informed that it is attempting to collect upon

a debt owed by Plaintiff (“subject consumer debt”).

    13. Plaintiff has notified Defendant that she was disputing the debt, and demanded that it stop

contacting her.

    14. Despite Plaintiff’s demands, Defendant continued to relentlessly call Plaintiff’s cellular

phone seeking to collect upon the subject consumer debt.

    15. As a result of Defendant’s incessant behavior, Plaintiff even took the time to return its call

and reiterate her demands that it cease contact.

    16. In spite of Plaintiff’s efforts, Defendant has continued to call Plaintiff’s cellular phone up

until the date of the filing of this action.

    17. During some conversations with Plaintiff, Defendant has ended the call abruptly, leaving

Plaintiff confused and stressed.

    18. Defendant has used a variety of phone numbers when contacting Plaintiff’s cellular phone,

including but not limited to (361) 488-7535.

    19. Upon information and belief, the above-referenced phone number ending in -7535 is

regularly utilized by Defendant during its debt collection activity.

    20. In sum, Plaintiff has received not less than 12 phone calls from Defendant since asking it

to stop calling.

    21. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    22. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.



                                                   3
          Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 4 of 9




      23. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

    limited to, invasion of privacy, aggravation that accompanies collection telephone calls,

    emotional distress, increased risk of personal injury resulting from the distraction caused by the

    never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,

    diminished cellular phone functionality, decreased battery life on her cellular phone, and

    diminished space for data storage on her cellular phone.

              COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

      24. Plaintiff repeats and realleges paragraphs 1 through 23 as though full set forth herein.

      25. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

      26. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

      27. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others. Defendant identifies

itself as a third party debt collector and has been a member of the Association of Credit and

Collection Professionals (“ACA”) since 2008.2

      28. The subject consumer debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of

a transaction due or asserted to be owed or due to another for personal, family, or household

purposes.

           a. Violations of FDCPA §1692c(a)(1) and §1692d

      29. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring



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    http://www.acainternational.org/search#memberdirectory

                                                        4
      Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 5 of 9




or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.”

   30. Defendant violated §1692c(a)(1), d, and d(5) when it continuously called Plaintiff after

being notified to stop. Defendant called Plaintiff at least 12 times after she demanded that it stop.

This repeated behavior of systematically calling Plaintiff’s phone in defiance of her demands was

harassing and abusive. The frequency and volume of calls shows that Defendant willfully ignored

Plaintiff’s pleas with the goal of annoying and harassing her.

   31. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to her.

         b. Violations of FDCPA § 1692e

   32. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   33. In addition, this section enumerates specific violations, such as:

           “The use of any false representation or deceptive means to collect or attempt to
           collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
           §1692e(10).

   34. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. Despite being told that the debt was being disputed and to cease

contacting her, Defendant continued to relentlessly contact Plaintiff via automated calls in an

attempt to force her to answer its calls and ultimately make a payment. Through its conduct,

Defendant misleadingly represented to Plaintiff that it had the legal ability to contact her via

automated calls when it no longer had consent to do so.

   35. Defendant also deceptively used various phone numbers when contacting Plaintiff, in an

attempt to trick Plaintiff into answering its calls in order to extract payment from her.

                                                  5
       Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 6 of 9




         c. Violations of FDCPA § 1692f

    36. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

    37. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff over 12 times after being notified to stop. Attempting to

coerce Plaintiff into payment by placing voluminous phone calls without her permission is unfair

and unconscionable behavior. These means employed by Defendant only served to worry and

confuse Plaintiff.

    38. Moreover, during certain conversations with Plaintiff, Defendant unfairly ended the call

while attempting to collect upon the subject consumer debt, leaving Plaintiff confused and

frustrated.

    39. As pled in paragraphs 20 through 23, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

    WHEREFORE, Plaintiff, KIMBERLY R. ROBINSON, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned bodies of law;

    b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
       §1692k(a)(2)(A);

    c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
       under 15 U.S.C. §1692k(a)(1);

    d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
       §1692k(a)(3); and

    e. Awarding any other relief as this Honorable Court deems just and appropriate.




                                                6
      Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 7 of 9




          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   40. Plaintiff repeats and realleges paragraphs 1 through 39 as though fully set forth herein.

   41. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   42. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The recorded message that Plaintiff is subjected to during answered

calls from Defendant is instructive that an ATDS is being utilized to generate the phone calls.

Additionally, the nature and frequency of Defendant’s contacts points to the involvement of an

ATDS.

   43. Defendant violated the TCPA by placing at least 12 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent that Plaintiff may have given to the

originator of the consumer debt, which Defendant will likely assert transferred down, was

specifically revoked by Plaintiff’s demands that it cease contacting her.

   44. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   45. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).




                                                 7
      Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 8 of 9




   WHEREFORE, Plaintiff, KIMBERLY R. ROBINSON, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.

               COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   46. Plaintiff restates and realleges paragraphs 1 through 45 as though fully set forth herein.

   47. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   48. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. § 392.001(6) and (7).

   49. The subject consumer debt is a “consumer debt” as defined by Tex. Fin. Code Ann. §

392.001(2) as it is an obligation, or alleged obligation, arising from a transaction for personal,

family, or household purposes.

           a. Violations of TDCA § 392.302(4)

   50. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   51. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

12 times after being notified to stop. The repeated contacts were made with the hope that Plaintiff




                                                8
      Case 4:18-cv-00623 Document 1 Filed on 02/27/18 in TXSD Page 9 of 9




would succumb to the harassing behavior and ultimately make a payment. The nature and volume

of phone calls would naturally cause an individual to feel oppressed.

   52. Upon being told to stop calling, Defendant had ample reasons to be aware that it should

not continue its harassing conduct.      Yet, Defendant consciously chose to continue placing

collection calls to Plaintiff’s cellular phone in an attempt to force her into submission.

   WHEREFORE, Plaintiff, KIMBERLY R. ROBINSON, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: February 27, 2018                               Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)                   s/Taxiarchis Hatzidimitriadis
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                                                  9
